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      EXHIBIT 2
   REDACTED PUBLIC
       VERSION
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                  LTD., SAMSUNG ELECTRONICS AMERICA,
                    INC. and SAMSUNG
                  TELECOMMUNICATIONS AMERICA, LLC

                 
                                                   UNITED STATES DISTRICT COURT
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                                     NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
                 

                 
                        APPLE INC., a California corporation,    CASE NO. 11-cv-01846-LHK
                 
                                      Plaintiff,                 DECLARATION OF SAMUEL S. LEE IN
                                                               SUPPORT OF SAMSUNG’S MOTION
                               vs.                               FOR A PROTECTIVE ORDER
                 
                    SAMSUNG ELECTRONICS CO., LTD., a             PRECLUDING THE DEPOSITIONS OF
                  Korean business entity; SAMSUNG              TEN HIGH-RANKING SAMSUNG
                    ELECTRONICS AMERICA, INC., a New             EXECUTIVES
                  York corporation; SAMSUNG
                    TELECOMMUNICATIONS AMERICA,                  Date: March 27, 2012
                  LLC, a Delaware limited liability company,
                                                                 Time: 10:00 a.m.
                                    Defendant.
                                                                 Place: Courtroom 5, 4th Floor
                                                                 Judge: Hon. Paul S. Grewal
                 

                 
02198.51855/4616142.1
                                                                              DECLARATION OF SAMUELS. LEE
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                                                         DECLARATION OF SAMUEL S. LEE
                   1

                   2                    I, Samuel S. Lee, declare as follows:

                   3                    1.        I am Senior Legal Counsel for Samsung Electronics Co., Ltd., in the above-

                   4 entitled action.        I make this declaration of personal, first-hand knowledge, and if called and

                   5 sworn as a witness, I could and would testify competently thereto.

                   6                    2.        Based on my role as Senior Legal Counsel, I am familiar with the

                   7 organizational and reporting structure for Samsung Electronics Co., Ltd. (“SEC”) and its

                   8 subsidiary, Samsung Telecommunications America, LLC (“STA”).

                   9                    3.        SEC has approximately 190,000 employees. SEC’s various divisions

                 10 include Semiconductor                                           , Liquid Crystal Display

                 11           Visual Display                                                              , Mobile

                 12 Communications                              IT Solutions                     Digital Appliances

                 13                                             and Digital Imaging                                   .

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                                                                                             DECLARATION OF SAMUEL S. LEE
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                                                                         DECLARATION OF SAMUEL S. LEE
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                                                                         DECLARATION OF SAMUEL S. LEE
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                I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

                Executed February 22, 2012, at Seoul, Korea.




                                                  Samuel S. Lee




                                                 -5-
                                                                  DECLARATION OF SAMUEL S. LEE
